18 44

Rev ase 1:21-cv-22199-BB Docu eT CO GVER ERT? Docket 06/15/2021 Page 1 of 2

The Js 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
erence ofthe

provided by local rules of court. This form, approved by the Judicial Con

nited States in September 1974, isrequired for the use ofthe Clerk of Court for the

purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

 

L (a) PLAINTIFFS
ANA BRACHO

(b) County of Residence of First Listed Plaintiff
(EXCEPT IN US. PLAINTIPP CASES}

CAST Si Leas BES BREA
Road, Suite 302, Miami, FL 33145, (305) 961-1038

asualty Law Group, 2307 Douglas

DEFENDANTS
WESTERN WORLD INSURANCE COMPANY

County of Residence of First Listed Defendant
(iN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES5, USE THE LOCATION OF
THE TRACT OF LAND INVOL¥ED.

NOTE:

Attomeys (if Knewn,

Douglas M- Cohen, Esquire, Clausen Miller, P.C., 4830 West Kennedy
Blvd, Suite 600, Tampa, FL 33609, (813) 519-1013

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

II. BASIS OF JURISDICTION (Piacean "X" in Gne Sax On hy Ill. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in Que Bax for Plaintiff
(Far Diversity Cases Oniy) and One Bax far Defendant}
O 1 U.S. Government O3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Goverment Nal a Party} Citizen of This State m1 O 1 Incerpotrated ar Principal Place O4 oO4
of Business In This State
O 2 U.S. Goverment M4 Diversity Citizen of Another State oO 2 O 2  Incerporated and Principal Place Os Oks
Defendant (indicate Citizenship af Parties in fem 10 of Business In Another State
Citizen of Subject of a O43 O 3. Foreign Nation oO6« O86
Foreign Country
IV. NATURE OB SUIT (Piace an "x" in One Box Oniy) Click here for: Nature of Suit Code Descriptions.
| CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES ]
MK 110 Insurance PERSONAL INJURY PERSONAL INJURY |0 625 Drug Related Seizure O 422 Appeal 28 USC 158 O 375 False Claims Act
O 120 Marine 0 310 Aitplane O 365 Personal Injury - of Property 2] USC 881 [0 425 Withdrawal O 376 Qui Tam (31 Use
O 150 Miller Act 0 315 Airplane Product Product Liability 0 690 Other 28 USC 157 3729(a0)
O 140 Negotiable Instrurnent Liability O 367 Health Care’ O 400 State Reapportionment
O 150 Recovery of Overpayment | 0 320 Assault, Libel & Phatrnaceutical PROPERTY RIGHTS O 410 Antitrust
& Enforcement of Judgment Slander Petsonal Injury O 820 Copytights O 430 Banks and Banking
O 151 Medicare Act 0 330 Federal Employers’ Product Liability O 830 Patent O 450 Commerce
O 152 Recovery of Defaulted Liability O 368 Asbestos Personal O 835 Patent - Abbreviated O 460 Deportation
Student Loans 0 340 Martine Injury Product New Drug Application [0 470 Racketeer Influenced and
(Excludes Veterans) 0 345 Marine Product Liability O 840 Tradernatk Corrupt Organizations
O 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR SOCIAL SECURITY O 480 Consumer Credit
of Veteran’s Benefits 0 350 Motor Vehicle O 370 Other Fraud O 710 Fair Labor Standards O 861 HIA (1395) (15 USC 1681 or 1692)
O 160 Stockholders’ Suits 0 355 Motor Vehicle O 371 Truth in Lending Act O 862 Black Lung (9233 O 485 Telephone Consumer
O 190 Other Contract Product Liability O 380 Other Personal O 720 Labor/Management O 863 DIWC/DIWW (405(21) Protection Act
O 195 Contract Product Liability | 0 360 Other Personal Property Darnage Relations O 864 S8ID Title XVI O 490 Cable/Sat TV
O 196 Franchise Injury O 385 Property Damage O 740 Railway Labor Act O #65 RSI (40521) O 850 Securities*C ommod ities/
0 362 Personal Injury - Product Liability O 751 Family and Medical Exchange
Medical Malpractice Leave Act O 890 Other Statutory Actions
| REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS |0 790 Other Labor Litigation FEDERAL TAX SUITS O 891 Agricultural Acts
O 210 Land Condemnation 0 440 Other Civil Rights Habeas Corpus: O 791 Employee Retirement O 870 Taxes (U.S. Plaintiff O 893 Environmental Matters
O 220 Foreclosure 0 441 Voting O 463 Alien Detainee Incorne Security Act or Defendant) O 895 Freedom of Information
O 230 Rent Lease & Ejectment 0 442 Employment O 510 Motions to Vacate O 871 IRS—Third Party Act
O 240 Torts to Land 0 443 Housing’ Sentence 26 U8 7609 O 896 Arbitration
O 245 Tort Product Liability Accommodations O 530 General O 899 Administrative Procedure
O 290 All Other Real Property O 445 Arner. w/Disabilities -]0) 535 Death Penalty IMMIGRATION Act/Review or Appeal of
Ernployment Other: O 462 Naturalization Application Agency Decision
O 446 Amer. wiDisabilities-]0 540 Mandamus & Other |0) 465 Other Immigration O 950 Constitutionality of
Other O 550 Civil Rights Actions State Statutes
O 448 Education O 555 Prison Condition
O 560 Civil Detainee -
Conditions of
Confinement

 

 

 

 

 

 

¥Y. ORIGIN (Piace an "X" in One Bax Gniy}

O11 Original rr, @ Removed from O 3. Remanded from O 4 Reinstatedor OO 5 Transferred fom © 6 Multidistrict O § Multidistrict
Proceeding State Coutt Appellate Court Reopened Another District Litigation - Litigation -
(specify Transfer Direct File

 

VI. CAUSE OF ACTION

Cite the U5. Civil Statute under which you are filing (Oe not cite jurisdictional statutes untess diversity):

28 U.S.C. §§ 1332, 1441, and 1446

 

 

Brief description of cause:

 

 

 

 

 

BREACH OF CONTRACT

VIL REQUESTED IN O CHECK IFTHIs Is A CLASS ACTION DEMAND $ CHECK YES only if dernanded in complaint:

COMPLAINT: UNDER BULE 23, FRCvP. JURY DEMAND: Myes No
VITL RELATED CASE(G)

‘See inaiructiang):

IF ANY (See instructions) Te DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD
06/15/2021 /sf Douglas M. Cohen
FOR OFFICE USE ONLY

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

 
18 44 Reverse HAS G15; 21-CV-22199-BB Document 1-6 Entered on FLSD Docket 06/15/2021 Page 2 of 2

INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

L.(a)

(b)

(©)

IL.

I.

VII.

YI.

Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
then the official, giving both name and title.

County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)

Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
in this section "(see attachment)”.

Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X”
in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.

United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.

Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
precedence, and box | or 2 should be marked.

Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
cases.)

Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
section for each principal party.

Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
that is most applicable. Click here for: Nature of Suit Code Descriptions.

 

Origin. Place an "X” in one of the seven boxes.

Original Proceedings. (1) Cases which originate in the United States district courts.

Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
date.

Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
multidistrict litigation transfers.

Multidistrict Litigation — Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
Section 1407.

Multidistrict Litigation — Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
changes in statue.

Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
Jury Demand. Check the appropriate box to indicate whether or nota jury is being demanded.

Related Cases. This section of the JS 44 is used to reference related pending cases, ifany. If there are related pending cases, insert the docket
numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
